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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
                 v.                                        Criminal Action No. 21-563 (JDB)
 VICTORIA CHARITY WHITE,
           Defendant.


                                              ORDER

       Upon consideration of the entire record herein, and for the reasons discussed at the March

22, 2023 status conference, it is hereby ORDERED that the schedule set forth in [54] the February

10, 2023 pretrial scheduling order is VACATED; and it is further ORDERED that the following

schedule shall govern pretrial proceedings:

       •    The government shall respond to defendant’s existing motions [ECF Nos. 55, 56, and
            57] by not later than April 21, 2023; the defendant shall reply to those oppositions
            (including any supplement to the existing motions) and file any new motions by not
            later than May 19, 2023; the government shall file responses to the new motions and,
            if applicable, sur-replies to any supplement to the existing motions by not later than
            June 9, 2023; and the defendant shall file any replies in support of her new motions by
            not later than June 23, 2023;

       •    The government shall file any opposition to defendant’s proposed expert by not later
            than May 19, 2023; the defendant shall file her response by not later than June 9, 2023;
            and the government shall file any reply by not later than June 23, 2023;

       •    The parties shall file any motions in limine by not later than August 4, 2023;
            oppositions shall be filed by not later than August 18, 2023; and replies shall be filed
            by not later than August 25, 2023;

       •    The parties shall file proposed voir dire questions and jury instructions by not later than
            August 29, 2023;

       •    A status conference and, if necessary, motions hearing is scheduled for July 19, 2023
            at 11:00 a.m. via Zoom;

       •    A pretrial conference is scheduled for September 5, 2023 at 2:00 p.m. via Zoom; and

       •    Trial is scheduled to begin on September 14, 2023 at 9:30 a.m. in Courtroom 30.

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      SO ORDERED.



                                                                  /s/
                                                           JOHN D. BATES
                                                       United States District Judge
Dated: March 22, 2023




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